      Case 4:20-cv-05640-YGR          Document 1126        Filed 01/21/25      Page 1 of 3



                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
                                OAKLAND DIVISION


 EPIC GAMES, INC.,                                 Case No. 4:20-cv-05640-YGR-TSH
              Plaintiff, Counter-defendant,
                   v.
 APPLE INC.,                                       OBJECTIONS TO SPECIAL MASTER
                  Defendant, Counterclaimant.      DETERMINATIONS ISSUED JANUARY
                                                   14, 2025 REGARDING APPLE’S RE-
                                                   REVIEWED DOCUMENTS



The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,
        Pursuant to Section 4 of the Joint Stipulation and Order Approving Privilege Re-Review
Protocol (Dkt. 1092) (the “Protocol”), Epic respectfully submits the following Objections to
certain of the Special Masters’ privilege determinations issued on January 14, 2025 regarding
Apple’s production of re-reviewed documents.
        Epic does not have access to the documents and is therefore unable to fully assess these
challenged privilege claims. However, based on the information provided in Apple’s privilege
logs for the documents and their families, as well as certain documents that Apple did produce,
Epic contends several of the documents for which Apple maintained privilege assertions that
were sustained by the Special Masters are in fact not privileged and, in some cases, are the same
as, or substantially similar to, documents over which this Court rejected Apple’s privilege
assertions in the December 2 Order. Epic respectfully requests that the Court review the
following documents in camera and reject Apple’s privilege assertions pertaining to these
documents, in whole or in part.
       External Link Scare Screens and Intake Forms
        Epic believes that, in direct contravention to this Court’s December 2 Order, Apple has
maintained privilege assertions over drafts of its scare screens, and has provided privilege
descriptions that are sufficiently convoluted so as to cause the Special Masters to erroneously
uphold Apple’s privilege claims. Documents in this category include privilege log entry numbers
1507 (PRIV-APL-EG_00040803), 1508 (PRIV-APL-EG_00040804), 1561 (PRIV-APL-
EG_00041346), 1563 (PRIV-APL-EG_00041349) and 2734 (PRIV-APL-EG_00098907). Apple
similarly has maintained improper privilege assertions over drafts of its developer intake forms
      Case 4:20-cv-05640-YGR          Document 1126         Filed 01/21/25      Page 2 of 3




for the use of external links. Documents in this category include privilege log entry numbers 82
(PRIV-APL-EG_ 00014884) and 1562 (PRIV-APL-EG_ 00041348), both titled “sk-entitlement-
request-form.png”.
       Overly Redacted or Withheld Employee Slack Channels
       Entries 307 (PRIV-APL-EG_00018603) and 1577 (PRIV-APL-EG_00041474) each
appear to be employee Slack channels. The custodian for Entry 307, which Apple seeks to
withhold in its entirety, is Aaron Deardon, a non-lawyer Apple employee who is a member of
Apple’s Pricing team. The privilege log description notes that the discussion in the document is
“regarding when [the scare screen] should appear”, a topic that appears to be not inherently legal.
And an apparently similar document that Apple did produce (APL-EG_11502309, submitted
herewith and marked Exhibit A) suggests that the content of this chat is not legal advice or
otherwise protected. To the extent any portion of this chat contains legal advice, it should be
appropriately redacted—not entirely withheld.
        Entry 1577’s custodian is Joseph Magnani, a non-lawyer Senior Designer. A document
that Apple did produce (APL-EG_11327833, submitted herewith and marked Exhibit B), which
appears to pertain to the same exchange, reveals that this Slack channel concerns primarily app
programming and testing, product launch timing, and scare screen copy—all of which are
business topics, not legal advice. Although attorney Ling Lew is referenced in passing and non-
attorneys mention waiting on the legal department for a decision, no attorneys engage in the chat
and no legal advice is sought or provided. Thus, this document appears to be mostly, if not
entirely, an unprivileged business conversation.
       Parent Message Board and Attachments
        Entries 337 (PRIV-APL-EG_00019072), 338 (PRIV-APL-EG_00019078) and 339
(PRIV-APL-EG_00019079) appear to be a parent business notice and its two child attachments.
The custodian is Dana Dubois, a non-lawyer Senior Developer. Apple produced to Epic
documents with the same names, document dates, and apparent family structure as Entries 337
through 339 (APL-EG_10899145, ‘151 and ‘152, submitted herewith and marked Exhibits C-
E), but with a different custodian (Mike Tam, a non-lawyer Senior Manager for Worldwide
Developer Marketing). Based on the contents of the documents that Apple did produce, Entries
337-339 have primarily a business purpose and are therefore not privileged.
       Press or Business Communications
        Entries 44 (PRIV-APL-EG_00014002), 45 (PRIV-APL-EG_00014212), 46 (PRIV-APL-
EG_00014237) and 47 (PRIV-APL-EG_00014254) are all attachments to an email from Marni
Goldberg, non-lawyer Director of Corporate Communications, and the primary recipient is Adam
Hunt, non-lawyer Head of Corporate Communications and Public Relations for Apple India
(Entry 42, PRIV-APL-EG_00013986). No attorneys are even copied on the parent document.
Apple concedes the parent email chain does not include any lawyers, but claims that “Apple
employees discuss legal advice from counsel”. But Epic does not challenge the parent
document’s privilege; rather, it is challenging the privilege of the attachments thereto. The
custodians for each of these documents are Ms. Goldberg and Peter Ajemian, a non-lawyer
Corporate Communications and Public Relations employee. The attachments’ document titles
reveal the non-privileged character of these documents, two of which are certainly public-facing

                                                2
      Case 4:20-cv-05640-YGR           Document 1126          Filed 01/21/25    Page 3 of 3




documents: Entry 45 is the App Store Review Guidelines and Entry 47 is Apple’s Developer
Program License Agreement. The other two attachments are Apple Platform Security and
Government & LEA Process Guidelines, both of which may contain confidential information—
but neither of which appears to be privileged. The attachment of these seemingly unprivileged
documents to a potentially privileged parent email is not sufficient to warrant the extension of
privilege to the attachments. (See Dkt. 1095 at 3 (“[T]he choosing of a non-privileged document
to review . . . does not create a privilege”.).)
       Entry 2740 (PRIV-APL-EG_00099095) is an email from Marni Goldberg, a non-lawyer
in Corporate Communications and Public Relations, to Phil Schiller, non-lawyer Apple Fellow,
and Kate Adams, Senior Vice President and General Counsel, with an array of Apple staff
copied. The email subject line is “Epic statements and background for approval”. Based on the
information in the privilege log, this is a case where privilege should not attach because “the
email requested business and legal advice at the same time” and it is not apparent that “the legal
advice was predominant”. (Dkt. 1056 at 2-3.)
       Entry 2791 (PRIV-APL-EG_00099476) is a document titled “2024.02.26 Sweeney
Statements Critical of Apple DMA Compliance.pages”. Non-lawyer Phil Schiller is its
custodian. This document appears to be a compilation of public quotes from Epic’s CEO, which
would not be privileged, regardless of who put it together.




 DATED: January 21, 2025                             CRAVATH, SWAINE & MOORE LLP
                                                     By: /s/ Yonatan Even
                                                     Counsel for Plaintiff Epic Games, Inc.




                                                 3
